 9:23-cr-00394-RMG           Date Filed 05/24/23         Entry Number 4      Page 1 of 8




                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                BEAUFORT DIVISION


UNITED STATES OF AMERICA                              Criminal No: 9:23-cr-00394-RMG

                       v.
                                                               PLEA AGREEMENT
CORY HOWERTON FLEMING

                                          General Provisions


       This PLEA AGREEMENT is made this             J) "�y of /y]     ¥2
                                                                               023, between the

United States of America, as represented by United States Attorney AdM. Boroughs, Assistant

United States Attorneys Emily Limehouse1 Katie Stoughton, and Winston Holliday; the

Defendant, CORY HOWERTON FLEMING, and Defendant's attorney, Deborah B. Barbier.

       IN CONSIDERATION of the mutual promises made herein, the parties agree as follows:

1.    The Defendant agrees to plead guilty to Count 1 of the Infonnation, which charges

       Conspiracy to Commit Wire Fraud, in violation of 18 U,S.C. § 371.

      In order to sustain its burden of proof, the Government is required to prove the following:

                                           Count 1
                                 (Conspiracy, 18 U.S.C. § 371)

      A.      The Defendant agreed with one or more persons;

       B.     To commit wire fraud;

       C.     The Defendant did so knowingly; and

       D.     An overt act in furtherance of the conspiracy was committed in the District of
              South Carolina during the period alleged in the Information.

       The penalty for this offense is:

       A maximum term of imprisonment of 5 years, fme of $250,000, supervised release for 3
       years, and a special assessment of $100.
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                                              Page 1 of/f4J
 9:23-cr-00394-RMG       Date Filed 05/24/23       Entry Number 4        Page 2 of 8




2.   The Defendant understands and agrees that monetary penalties [i.e., special assessments,

     rest1tution, fines and other payments required under the sentence] imposed by the Court

     are due and payable immediately and subject to enforcement by the United States as civil

     judgments, pursuant to 18 U.S.C. § 3613. In the event the Court imposes a schedule for

     payment of restitution, the Defendant also understands that payments made in accordance

     with installment schedules set by the Court are minimum payments only and do not

     preclude the Government from seeking to enforce the judgment against other assets of the

     Defendant at any time, as provided in 18 U.S.C. §§ 3612, 3613 and 3664(111). The

     Defendant further agrees to enter into the Bureau of Prisons Inmate Financial Repayment

     Program if sentenced to a term of incarceration with an unsatisfied monetary penalty.

     The Defendant further understands that any monetary penalty imposed is not

     discbargeable in bankruptcy.

            A.     Special Assessment: Pursuant to 18 U.S.C. §3013 t the Defendant must pay
                   a special assessment of $100.00 for each felony count for which he is
                   convicted. This special assessment must be paid at or before the time of
                   the guilty plea hearing or during participation in the Bureau of Prisons
                   Inmate Financial Repayment Program if this plea results in incarceration.

            B.     Restitution: The Defendant agrees to make full restitution under 18 U.S.C.
                   § 3556 in an amount to be detennined by the Court at the time of
                   sentencing, which amount is not limited to the oount(s) to which the
                   Defendant pled guilty, but will include restitution to each and every
                   identifiable victim who may have been banned by his scheme or pattern of
                   criminal activity, pursuant to 18 U.S.C. § 3663. The Defendant agrees to
                   cooperate fully with the Government in identifying all victims. Upon
                   demand, the Defendant shall submit a personal financial statement under
                   oath and submit to interviews by the government and the U.S. Probation
                   Office regarding the Defendant's capacity to satisfy any fines or
                   restitution. The Defendant expressly authorizes the U.S. Attorney's Office
                   to immediately obtain a credit report on the Defendant in order to evaluate
                   the Defendant's ability to satisfy any financial obligation imposed by the
                   Court. The Defendant understands that the Defendant has a continuing
 9:23-cr-00394-RMG         Date Filed 05/24/23         Entry Number 4         Page 3 of 8




                    obligation to pay in full as soon as possible any financial obligation
                    imposed by the Court.

            C.      Fines: The Defendant understands that the Court may impose a fine
                    pursuant to 18 U.S.C. §§ 3571 and 3572.

3.   The Defendant understands that the obligations of the Government within the Plea

     Agreement are expressly contingent upon the Defendant's abiding by federal and state

     laws and complying with any bond executed in this case. In the event that the Defendant

     fails to comply with any of the provisions of this Agreement, either express or implied,

     the Government will have the right, at its sole election, to void all of its obligations under

     this Agreement and tbe Defendant will not have any right to withdraw his/her plea of

     guilty to the offense(s) enumerated herein.

                                         Cooperation

4.   The Defendant agrees to be fully truthfbl and forthright with federal, state and local law

     enforcement agencies by providing full, complete and truthful information about all

     criminal activities about which he/she has knowledge, The Defendant must provide full,

     complete and truthful debriefings about these unlawful activities and must fully disclose

     and provide truthful information to the Government including any books, papers, or

     documents or any other items of evidentiary value to the investigation. The Defendant

     must also testify fully and truthfully before any grand juries and at any trials or other

     proceedings if called upon to do so by the Government, subject to prosecution for perjury

     for not testifying truthfully. The failure of the Defendant to be fully truthful and

     forthright at any stage will, at the sole election of the Government, cause the obligations

     of the Government within this Agreement to become null and void. Further, it is

     expressly agreed that if the obligations of the Govemment within this Agreement become


                                           Page3oW8
 9:23-cr-00394-RMG         Date Filed 05/24/23         Entry Number 4           Page 4 of 8




     null and void due to the lack of truthfulness on the part of the Defendant, the Defendant

     understands that:

            A.      the Defendant will not be pem1itted to withdraw his/her plea of guilty to
                    the offenses described above;

            B.      all additional charges known to the Government may be filed in the
                    appropriate district;

            C.      the Government will argue for a maximum sentence for the offense to
                    which the Defendant has pleaded guilty; and

            D.      the Government will use any and all information and testimony provided
                    by the Defendant pursuant to this Agreement, or any prior proffer
                    agreements, in the prosecution of the Defendant of all charges.

5.   The Defendant agrees to submit to such polygraph examinations as may be requested by

     the Government and agrees that any such examinations shall be performed by a

     polygraph examiner selected by the Government. Defendant further agrees that his/her

     refusal to take or his/her failure to pass any such polygraph examination to the

     Government's satisfaction will result, at the Government's sole discretion, in the

     obligations of the Government within the Agreement becoming null and void.

6.   The Government agrees that any self-incriminating information provided by the

     Defendant as a result of the cooperation required by the terms of this Agreement,

     although available to the Court, will not be used against the Defendant in determining the

     Defendant's applicable guideline range for sentencing pursuant to the United States

     Sentencing Commission Guidelines.           The provisions of this paragraph shall not be

     applied to restrict any such information:

            A       known to the Government prior to the date of this Agreement;

            B.      concerning the existence of prior convictions and sentences;

            C.      in a prosecution for perjury or giving a false statement;
 9:23-cr-00394-RMG        Date Filed 05/24/23       Entry Number 4        Page 5 of 8




            D.      in the event the Defendant breaches any of the tenns of the Plea
                    Agreement; or

            E.     used to rebut any evidence or arguments offered by or on behalf of the
                   Defendant (including arguments made or issues raised sua sponte by the
                   District Court) at any stage of the criminal prosecution (including bail,
                   trial, and sentencing).

7.   Provided the Defendant cooperates pursuant to the provisions of this Plea Agreement,

     and that cooperation is deemed by the Government as providing substantial assistance in

     the investigation or prosecution of another person, the Government agrees to move the

     Court for a downward departure or reduction of sentence pursuant to United States

     Sentencing Commission Guidelines § 5Kl.1, 18 U.S.C. § 3553(e) Qt Federal Rule of

     Criminal Procedure 35(b). Any such motion by the Government is not binding upon the

     Court, and should the Court deny the motion, the Defendant will have no right to

     withdraw his/her plea.

8.   The parties agree that the total amount of monies received by the Defendant and his

     former law finn ($676,255.59) have been disgorged to the victim in this case.

                              �erger and Other Provisions

9.   Provided the Defendant cooperates and otherwise complies with all of the conditions of

     this Agreement, the Government agrees to recommend that the Defendant serve any and

     all tenns of imprisonment imposed as a result of his conduct and plea of guilty to the

     offense enumerated herein, as well as any related conduct and convictions for violations

     of state law, absent any terms of probation and/or supervised release, concurrently in the

     Bureau of Prisons. The Government further agrees to recommend that the Defendant will

     not serve any tenn of incarceration within the South Carolina Department of Corrections.

     The obligations of the United States in this Paragraph are contingent upon the

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 9:23-cr-00394-RMG          Date Filed 05/24/23        Entry Number 4         Page 6 of 8




      Defendant's trnthful cooperation and satisfactory compliance with all terms of this

      Agreement, and, as set forth in Paragraphs 4 and 5, supra, and the Defendant understands

      his failure to satisfactorily comply with all tenns of this agreement or truthfally cooperate

      may result in. service of a sentence in the South Carolina Department of Corrections.

10.   The Defendant represents to the court that he/she has met with his/her attorney on a

      sufficient number of occasions and for a sufficient period of time to discuss the

      Defendant's case and receive advice; that the Defendant has been tmthful with his/her

      attorney and related all information of which the Defendant is aware pertaining to the

      case; that the Defendant and his attorney have discussed possible defenses, if any, to the

      charges in the Indictment including the existence of any exculpatory or favorable

      evidence or witnesses, discussed the Defendant's right to a public trial by jury or by the

      Court, the right to the assistance of counsel throughout the proceedings, the right to call

      witnesses in the Defendant's behalf and compel their attendance at trial by subpoena, the

      right to confront and cross-examine the Government's witnesses, the Defendant's tight to

      testify in his own behalf, or to remain silent and have no adverse inferences drawn from

      his/her silence; and that the Defendant, with the advice of counsel, has weighed the

      relative benefits of a trial by jury or by the Court versus a plea of guilty pursuant to this

      Agreement, and has entered this Agreement as a matter of the Defendant's free and

      voluntary choice, and not as a result of pressure or intimidation by any person.

1L    'n1e Defendant is aware that 18 U.S.C. § 3742 and 28 U.S.C. § 2255 afford every

      defendant certain rights to contest a conviction and/or sentence. Acknowledging those

      rights, the Defendant, in exchange for the concessions made by the Government in this

      Plea Agreement, waives the right to contest either the conviction or the sentence in any


                                           Page6of£
9:23-cr-00394-RMG           Date Filed 05/24/23          Entry Number 4     Page 7 of 8




      direct appeal or other post�conviction action, including any proceedings under 28 U.S.C.

      § 2255. This waiver does not apply to claims of ineffective assistance of counsel,

      prosecutorial misconduct, or future changes in the law that affect the Defendant's

      sentence. This Agreement does not affect the rights or obligations of the Government as

      set forth in 18 U.S.C. § 3742{b). Nor does it limit the Government in its comments in or

      responses to any post�sentencing matters. The Defendant further agrees that, should

      he/she in the future :file a motion with the Court seeking a reduction in sentence pursuant

      to 18 U.S.C. § 3582(c)(l)(A)(i), he/she will limit any assertion of "extraordinary and

      compelling reasons" allegedly warranting a reduced tenn of imprisonment to the

      circumstances set forth at the time of the defendant's motion in Policy Statement §

      1 B 1.13 of the United States Sentencing Commission and its application notes. Defendant

      further agrees that under application note 1(0), as it appears in the 2021 Guidelines

      Manual, he/she may assert only those reasons set forth in the relevant Bureau of Prisons

      program statement in effect at the time of the defendant's motion (currently Program

      Statement 5050.50).

12.   The Defendant waives all rights, whether asserted directly or by a representative, to

      request or receive from any department or agency of the United States any records

      pertaining to the investigation or prosecution of this case, including without limitation

      any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or

      the Privacy Act of 1974, 5 U.S.C. § 552a.

13.   The parties hereby agree that this Plea Agreement contains the entire agreement of the

      parties; that this Agreement supersedes all prior promises, representations and statements

      of the parties; that this Agreement shall not be binding on any party until the Defendant


                                          Page 7 oft,{
9:23-cr-00394-RMG        Date Filed 05/24/23          Entry Number 4            Page 8 of 8




   tenders a plea of guilty to the court having jurisdiction over this matter; that this

    Agreement may be modified only in writing signed by a11 parties; and that any and all

   other promises, representations and statements, whether made prior to, contemporaneous

   with or after this Agreement, are nul1 and void.




   Date'                                    ::'6�Fleming,            /'
                                            Defendant


    Date



                                            ADAIR F. BOROUGHS
                                            UNITED STATES ATTORNEY


    Date                                        n�enn ..house (Fed. ID# 12300)
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                                            A:ssistant United States Attorney




                                        Page8of/'
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